  5:20-cv-02882-JD       Date Filed 10/05/22     Entry Number 71        Page 1 of 1




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION


Johnny Mack Kinder,                                 )               Civil Action
                                                    )         5:20-cv-02882-JD-KDW
                       Plaintiff,                   )
          vs.                                       )
                                                    )         ORDER OF DISMISSAL
South Carolina Department of Corrections;            )
Barry J Tucker, in his official and personal         )
capacity; Mark Pettit, in his official and personal )
capacity; Bryan P Stirling; Michael McCall;          )
Dennis Patterson; Colie L. Rushton; Wantonta )
Golden; Donald P Keatley; Kellan B Mills;           )
Shannon Moore; Robert Williams Jr; Cory A           )
Sanders; Jeffery D West Jr; Vasily Chernyak Jr; )
John Doe; Jane Doe 1-25; Tim Riley,                  )
                                                     )
                      Defendants.                    )
             The Court having been advised by counsel for the parties that the above

action has been settled,

              IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within sixty (60) days, either party may petition

the Court to reopen this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In

the alternative, to the extent permitted by law, either party may within sixty (60) days petition

the Court to enforce the settlement. Fairfax Countywide Citizens v. Fairfax County, 571

F.2d 1299 (4th Cir. 1978). By agreement of the parties, the court retains jurisdiction to

enforce the settlement agreement. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381-

82 (1994).
              The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

              IT IS SO ORDERED.


October 5, 2022
Florence, South Carolina
